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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF OKLAHOMA


        LAURIE GARLAND,               )
                                      )
                  Plaintiff,          )
                                      )
        vs.                           ) NO. CIV-20-306-RAW
                                      )
                                      )
        STATE OF OKLAHOMA, ex rel     )
        OKLAHOMA DEPARTMENT OF        )
        CORRECTIONS,                  )
        CHRISTOPHER REDEAGLE,         )
        individually,                 )
        SHARON McCOY, individually,   )
        JOE ALLBAUGH, individually,   )
        RABECKAH MOONYHAM,            )
        individually,                 )
        HEATHER CARLSON, individually,)
        and BOARD OF CORRECTIONS,     )
                                      )
                  Defendants.         )



                    DEPOSITION OF LAURIE ELIZABETH GARLAND
                      TAKEN ON BEHALF OF THE DEFENDANTS
                          IN OKLAHOMA CITY, OKLAHOMA
                             ON JULY 6, 2021, 2021


                    REPORTED BY:     JANA C. HAZELBAKER, CSR




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   1          A      Yes.
   2          Q      Was that on a regular basis?
   3          A      Pretty consistently, yes.
   4          Q      Okay.    What was the nature of the verbal
   5    conversations that you all would have?
   6          A      Well, it started out very informal, just
   7    like I said, he asked, you know, "What are you doing
   8    here, what brings to you prison," et cetera.
   9                 We started talking and he just --
  10    conversations were minimal for a certain degree, but
  11    then it just escalated into, "Well, I really want to
  12    kiss you," and things of that nature --
  13          Q      Right.
  14          A      -- which was uncomfortable.
  15          Q      Right.   Did you, I guess, respond to him in
  16    any way that was, I guess, romantic in these verbal
  17    conversations?
  18          A      In verbal conversations?          No.       But I did in
  19    letters, yes.
  20          Q      Okay.    And who would you say wrote the
  21    first letter?
  22          A      I did.
  23          Q      Okay.
  24          A      It gets lonely in prison, so you write.
  25    You just take yourself on a little mind trip journey.


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   1          A      Not to my knowledge.
   2          Q      Okay.   Randy Knight, you mentioned him a
   3    minute ago.     Who is he?
   4          A      He is the IA.
   5          Q      And that's Internal Affairs?
   6          A      Yes, sir.
   7          Q      Okay.   And what was your contact or
   8    contacts with Randy Knight?
   9          A      He came on the day for -- when Redeagle
  10    resigned and provided me with some of this
  11    information that he'd found and did my basic
  12    interview.
  13          Q      Okay.
  14          A      And heard my side of the story.
  15          Q      What, if anything, did Randy Knight do
  16    personally to violate your rights?
  17          A      He really didn't.       He was actually the more
  18    comfortable person to talk to.
  19          Q      Okay.   Who is Penny Lewis?
  20          A      That is also a guard.
  21          Q      Okay.   And what were your contacts with
  22    Penny Lewis?
  23          A      Just -- she just worked there.
  24          Q      Okay.   What, if anything, did Penny Lewis
  25    do personally to violate your rights?


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   1          A      Like I said, I don't think that she
   2    necessarily personally intentionally did anything.
   3          Q      What is -- or who is, sorry, Whitney Louis?
   4          A      She's the psychiatrist.
   5          Q      And what were your contacts with Whitney
   6    Louis?
   7          A      She was the one that I started with the
   8    self-help groups and stuff.          And she's also one of
   9    the ones that wrote one of these reports.
  10          Q      Did Whitney Louis do anything personally to
  11    violate your rights?
  12          A      I don't know.
  13          Q      How would you characterize Whitney Louis?
  14          A      She's -- she's pretty open, I guess.
  15          Q      She struck you as an intelligent person?
  16          A      I believe so.
  17          Q      Okay.   Did she strike you as an honest
  18    person?
  19          A      I -- I guess.      I mean, for the most part.
  20          Q      Who is Jason Mann with two "n"s?
  21          A      That's another Redeagle term of return
  22    sender.
  23          Q      Okay.   No such real person?
  24          A      I don't know.
  25          Q      That you know of?


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   1          A      I've never -- I've never met him.
   2          Q      Who is Sharon McCoy?
   3          A      That's the former warden before Natalie
   4    Cooper.
   5          Q      Okay.   What were your contacts with Sharon
   6    McCoy?
   7          A      I didn't see her a whole lot except if she
   8    came to church services to watch us perform, and that
   9    was every so often.
  10          Q      Okay.   What, if anything, did Sharon McCoy
  11    do personally to violate your rights?
  12          A      Well, she wasn't around a whole lot there
  13    towards the transitioning of Ms. Cooper, but she was
  14    in and out.     She was just here and there, hit and
  15    miss.
  16          Q      Okay.   Who is Rabeckah Moonyham?
  17          A      That is another guard, as well, female.
  18          Q      What were your contacts with Rabeckah
  19    Moonyham?
  20          A      I mean, just conversation.
  21          Q      What, if anything, did Rabeckah Moonyham
  22    personally do to violate your rights?
  23          A      I guess she's also on the Board, I believe,
  24    of overseeing things at Eddie Warrior.
  25          Q      She's a guard on the Board?


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   1          A      She's a guard, but they have a team of
   2    certain people that are in charge, I believe, like to
   3    oversee the others, just like a hierarchy.
   4          Q      Did she do anything personally to violate
   5    your rights that you're aware of?
   6          A      I don't know.      No.
   7          Q      Okay.   We mentioned him earlier, but Steve
   8    Schardein, he's both a former step-relative and also
   9    a former romantic interest; is that correct?
  10          A      Correct.
  11          Q      Okay.   When was your last contact with
  12    Mr. Schardein?
  13          A      In July of 2020.
  14          Q      Okay.   You have no reason to believe
  15    Mr. Schardein participated in any violation of your
  16    rights, do you?
  17          A      I don't -- I don't know if he did or not.
  18          Q      Okay.   Who is Rachel Vernon?
  19          A      That is the head of, like, the medical, at
  20    Eddie Warrior.
  21          Q      Is Rachel a doctor?
  22          A      I'm not sure if she's a licensed doctor or
  23    if she just oversees the medical staff.                  I'm not
  24    exactly sure what her criteria is.
  25          Q      What were your contacts with Rachel Vernon?


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